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 1
                              (Stipulating Parties Listed on Signature Pages)
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 4
                                UNITED STATES DISTRICT COURT
 5                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
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     In re: CATHODE RAY TUBE (CRT)                            Master File No. 07-5944 SC
10   ANTITRUST LITIGATION
                                                              MDL No. 1917
11   This Document Relates to:
                                                              STIPULATION AND [PROPOSED]
12                                                            ORDER REGARDING SCHEDULING
     State of California, et. al. v. Samsung SDI Co.,
13   Ltd., et. al., No. CGC-11-515784

14

15          WHEREAS, pursuant to the Stipulation and Order Regarding Scheduling dated March 21,
16   2014 (Doc. No. 2459) (“Scheduling Order”), on August 5, 2014, Defendants served the expert
17   reports of Dr. Dennis Carlton and Dr. Janusz A. Ordover, who addressed issues related to the
18   State of California’s (“California Attorney General”) claims and the expert report of Professor
19   William S. Comanor (the “California Attorney General’s Expert”);
20          WHEREAS, pursuant to the Scheduling Order, the California Attorney General’s rebuttal
21   expert report is currently required to be served no later than September 23, 2014;
22          WHEREAS, the California Attorney General and Defendants have reached an agreement
23   to modify the Scheduling Order so that the California Attorney General’s rebuttal expert report
24   will be due on September 26, 2014 and related backup material will be due on October 1, 2014;
25          WHEREAS, the same Defendants’ expert witnesses will respond to the California
26   Attorney General’s Expert;
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     STIPULATION AND [PROPOSED] ORDER                                                      Case No. 07-5944
     REGARDING SCHEDULING                                                                  MDL NO. 1917
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 1
            WHEREAS, the California Attorney General and Defendants have agreed to synchronize
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     the schedule for rebuttal and sur-rebuttal expert reports in the above-captioned case with the
 3
     remaining plaintiffs’ schedule;
 4
            IT IS HEREBY STIPULATED AND AGREED by and between counsel for the California
 5
     Attorney General and counsel for the undersigned Defendants as follows:
 6
            1.      The last day for the California Attorney General’s expert to serve his rebuttal
 7
     expert report on the merits is extended to September 26, 2014, and the last day for the California
 8
     Attorney General’s expert to serve the backup material accompanying his rebuttal expert report on
 9
     the merits is extended to October 1, 2014;
10
            2.      All other dates in the Scheduling Order are unaffected by this stipulation.
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            The undersigned parties jointly and respectfully request that the Court enter this
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     stipulation as an order.
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.




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            10/10/2014
     Dated:___________________                          ______________________________________
19                                                                  Hon. Samuel ContiConti
                                                               NO




                                                                              Samuel Judge
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                                                                United States


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23
     DATED: September 22, 2014                    SHEPPARD MULLIN RICHTER & HAMPTON
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     STIPULATION AND [PROPOSED] ORDER                                                     Case No. 07-5944
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     STIPULATION AND [PROPOSED] ORDER                                        Case No. 07-5944
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 9

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11
            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
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     document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER                                                    Case No. 07-5944
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